Case 2:02-Cr-20165-BBD Document 506 Filed 05/12/05 Page 1 of 3 Page|D 632

IN THE UNITEI) STATES DISTRICT COURT
F()R THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,

Plaintiff, Case No. 02»20165 D Ph

vs.
ALVIN IRWIN MOSS, et al.,

Defendants.

 

AMENDED ORDER OF REFERENCE

 

The Court hereby amends its Order of Reference dated May 4, 2005, for a Report and
Recommendation on Defendants Stacy Layne Beavers, Sherrie-Lee Doreen Cave, Michael Elliot
Cole, Geoff.`rey L. Feldman, and Alvin Moss’s Renewed Motion to Compel Production of Items
Pertaining to Tolling of Statute of Limitations.

This matter is hereby referred to the United States Magistrate Judge for a Determination.
Any exceptions to the Magistrate Judge’s order shall be made by motion Within ten (IO) days of the

order. Further, all exceptions shall be stated with particularity

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B ICE B. DONALD
UNITED STATES DISTRICT .]UDGE

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This notice confirms a copy of the document docketed as number 506 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

